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                          IN THE UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF FLORIDA
                                   ORLANDO DIVISION

  MAURICE JONES, ANTHONY C. COOK and
  MICAH BELLAMY, et al.,

                Plaintiffs,                                 Case No.: 6:17-cv-00891-PGB-KRS

     v.

  GOVERNMENT EMPLOYEES INSURANCE
  COMPANY, and GEICO GENERAL INSURANCE
  COMPANY,

                Defendants.

  ANTHONY LORENTI and ASHLEY BARRETT,
  individually and on behalf of all others similarly
  situated,                                                 Case No.: 6:17-cv-01755-PGB-KRS

                Plaintiffs,

     v.

  GEICO INDEMNITY COMPANY,

                Defendant.

                                 JOINT MOTION TO VACATE
                                SUMMARY JUDGMENT ORDER

          As set out in Plaintiffs’ motion for a preliminary approval (Dkt. No. 197), the parties have

 reached a proposed settlement of these actions, a material term of which is this joint motion and

 the entry of an order vacating the July 19, 2019, summary judgment order (Dkt. No. 185). The

 parties therefore move the Court and request, only upon final approval of the proposed settlement,

 that the Court vacate the summary judgment order to effectuate this settlement.
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                                  RELEVANT BACKGROUND

        On December 17, 2018, the parties engaged in a Court-ordered mediation with Mediator

 Richard Reinhardt of Upchurch Watson White & Max. See Case Management & Scheduling

 Order, Dkt. No. 48; Mediation Report, Dkt. No. 125. The parties reached an impasse (Dkt. No.

 125), and these consolidated cases proceeded, resulting in a number of rulings from the Court,

 including an order entered on July 19, 2019, denying Defendants’ motion for summary judgment

 and granting summary judgment to Plaintiffs. Summ. J. Order (July 19, 2019), Dkt. No. 185.

 Among other things, the Court ordered the parties to file a proposed final judgment within sixty

 days from the expiration of class opt-out deadline. Id. at 8.

        On September 13, 2019, before any proposed final judgment was due, the parties engaged

 in a further mediation session with Upchurch Watson White & Max, this time before Mediator

 Rodney Max. This mediation session resulted in a tentative agreement to settle these cases. As

 part of the settlement, Defendants would pay each eligible class member who submits a timely and

 valid claim a total of $79.85, plus prejudgment interest, which includes the full amount awarded

 in the Court’s summary judgement order plus an additional $.50 per class member. Settlement

 Agreement ¶ 32, Dkt. No. 197-1. The settlement also provides relief for an expanded class period

 beyond the class certified by the Court. Defendants also have agreed as part of the settlement to

 include these amounts in future payments made under their Florida automobile insurance policies.

 Id. ¶ 67. The settlement agreement clarifies the limited res judicata effect of this case only to the

 fees at issue in this lawsuit and the Released Claims as defined in the settlement agreement. The

 settlement agreement also includes a provision that the parties will jointly move for an order

 vacating the July 19 summary judgment order. Id. ¶ 65. The parties would not have been able to

 reach a settlement without inclusion of this term.



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         Plaintiffs have filed a motion to approve the proposed settlement (Dkt. No. 197), and the

 parties now jointly move the Court to vacate the July 19 summary judgment order (Dkt. No. 185)

 upon final approval of the proposed settlement.

                        ARGUMENT AND CITATION OF AUTHORITY

         The Court has broad discretion to revisit its orders prior to final judgement. Under Rule

 54(b) of the Federal Rule of Civil Procedure, “any order . . . that adjudicates fewer than all the

 claims . . . may be revised at any time before the entry of a judgment adjudicating all the claims.”

 Fed. R. Civ. P. 54(b). Moreover, even after final judgment, Rule 60(b)(6) allows a court to “relieve

 a party or its legal representative from a final judgment, order, or proceeding for . . . any [] reason

 that justifies relief.” Fed. R. Civ. P. 60(b)(6).

         Where a party moves to vacate an order upon settlement, the Eleventh Circuit has set out

 an “equitable” approach under which “courts determine the propriety of granting vacatur by

 weighing the benefits of settlement to the parties and to the judicial system (and thus to the public

 as well) against the harm to the public in the form of lost precedent.” Hartford Cas. Ins. Co. v.

 Crum & Forster Specialty Ins. Co., 828 F.3d 1331, 1336 (11th Cir. 2016). In Hartford, the court

 concluded that the district court had abused its discretion in denying a motion to vacate an order

 granting summary judgment (and related cost orders) even after the judgment was final and

 pending on appeal, because the necessity of the vacatur for settlement presented “exceptional

 circumstances” warranting this relief. Id. In such a case, the benefits of settlement heavily

 outweigh any possible harm of lost precedent. Id.

         Specifically, as to the benefits of settlement, the court pointed to the fact that the parties’

 negotiations had been prompted by court-ordered mediation and that “both parties to the settlement

 desire vacatur because settlement would otherwise be impossible.” Id. “Taken together, these



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 considerations weigh heavily in favor of vacating the District Court’s orders.” Id. Overall, “[t]he

 parties’ interests are best served through the voluntary disposition of this case, and further

 proceedings are curtailed, conserving judicial resources.” Id.

        The Court weighed those benefits against the “public interest in preserving a district court

 ruling on questions of state contract law that has been appealed to this Court.” Id. Preservation

 of such precedent would have only “slight value” to the public generally but is heavily

 “outweighed by the direct and substantial benefit of settling this case to” the parties “and to the

 judicial system (and thus to the public as well).” Id.

        Applying Hartford, district courts in the Eleventh Circuit frequently grant motions to

 vacate prior orders to effectuate settlement, particularly where the prior order dealt with state-law

 issues or otherwise is of limited precedential value. E.g., Regions Bank v. David, No. 2:18-CV-

 00716-KOB, 2019 WL 848734, at *1 (N.D. Ala. Jan. 30, 2019); Automated Sys. Am., Inc. v.

 Worldpay US, Inc., No. 1:17-cv-0361-AT, 2018 WL 6929258, at *1 (N.D. Ga. Dec. 18, 2018);

 Ctr. for Biological Diversity v. Zinke, No. 1:17-cv-24444-UU, 2018 WL 6807397, at *1 (S.D. Fla.

 Sept. 20, 2018); Heartland Catfish Co. v. Navigators Specialty Ins. Co., No. 15-368-CG-M, 2018

 WL 1913549, at *2 (S.D. Ala. Mar. 6, 2018); Cent. Miss. Credit Corp. v. Vaughn, No. 3:15-cv-

 00932-JAR, 2016 WL 7107769, at *1 (M.D. Ala. Dec. 6, 2016); Russell-Brown v. Univ. of Fla.,

 No. 1:09cv257-RH/GRJ, 2016 WL 9455126, at *1 (N.D. Fla. Oct. 21, 2016). Overall, “courts

 routinely grant parties’ stipulations to vacate or revise non-final orders as part of the settlement

 approval process, including in class actions.” O’Connor v. Uber Techs., Inc., No. 13-cv-03826-

 EMC, 2016 WL 6997166, at *2 (N.D. Cal. May 2, 2016)

        Here, the same circumstances present in Hartford warrant vacatur of the summary

 judgment order. First, the class settlement, which could not have been achieved without the parties



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 agreement to move for vacatur of the summary judgment order, provides benefits to the parties,

 the class, the Court, and the public as a whole, weighing heavily in favor of vacatur. Second, the

 non-final summary judgment order deals with state-law issues that relate to coverage issues

 applicable to insurance policy language specific to one insurer: GEICO, and is therefore of limited

 precedential value.

 A.     Vacating the Order Will Benefit the Parties, the Class, and the Public.

        The vacatur of the summary judgment order is a material term of the parties’ agreement to

 settle this matter. This is not a situation where the parties effectuate a settlement then one party

 seeks vacatur only after the settlement is final and the case dismissed. As in Hartford, the

 settlement here was negotiated after court-ordered mediation, and part of what allowed a

 settlement to be reached was the agreement to ask for an order vacating the prior summary

 judgment order.       Hartford, 828 F.3d at 1336.      Courts routinely grant vacatur in these

 circumstances. See Regions Bank, 2019 WL 848734, at *2 (granting vacatur); Automated Sys.,

 2018 WL 6929258, at *1 (same); Ctr. for Biological Diversity, 2018 WL 6807397, at *1 (same);

 Heartland, 2018 WL 1913549, at *2 (same); Cent. Miss. Credit Corp., 2016 WL 7107769, at *2

 (vacating non-final order); Russell-Brown, 2016 WL 9455126, at *1 (same).

        Moreover, the class settlement here provides additional benefits to the public beyond the

 preservation of judicial resources. As detailed in the motion for preliminary approval, the

 settlement would provide eligible class members with full payment of the amounts awarded in the

 summary judgment order plus an additional payment for branch fees, plus prejudgment interest. 1

 Settlement Agreement ¶ 32, Dkt. No. 197-1. The settlement also provides relief for an expanded



 1
  By filing this Motion, GEICO is not admitting that branch fees (or any other fee) are owed in
 settlement of a first-party auto total loss claim or waiving any argument that these fees are not
 owed.

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 class period beyond the class certified by the Court. And the settlement also provides for ongoing,

 prospective relief: Defendants have agreed to change their claims-handling practices to include

 payment of these amounts in settling future claims. Id. ¶ 67. The settlement agreement also

 clarifies that the limiting effect the res judicata of this case only to the fees at issue in this lawsuit.

 Because this settlement includes relief to the class beyond that awarded in the summary judgment

 order, it is beneficial to all parties to vacate the order and settle this matter.

 B.      There Is Minimal Potential Harm to the Public in the Form of Lost Precedent.

         As the Eleventh Circuit explained in Hartford, the public interest is not only or necessarily

 served by the preservation of precedent. Hartford, 828 F.3d at 1337. “Rather, the public interest

 is also served by settlements when previously committed judicial resources are made available to

 deal with other matters, advancing the efficiency of the federal courts.” Id. As the court explained,

 a federal district court opinion on state contract law is of only “slight” precedential value,

 particularly where the legal issues are the subject of appeal. Id. at 1336. Accordingly, district

 courts continue to vacate such orders to effectuate settlement. E.g., Henns v. Mony Life Ins. Co.

 of Am., No. 5:11-cv-55-J-37TBS, 2012 WL 13059258, at *1 (M.D. Fla. June 13, 2012) (“The

 public interest served by a federal district court’s resolution of a matter of Florida insurance law

 is outweighed by the beneficial effect of settlement of the dispute between these parties.”); Regions

 Bank, 2019 WL 848734, at *1 (order dealt with state law and was of limited precedential value);

 Heartland, 2018 WL 1913549, at *2 (same).

         Here, as in Hartford, Henns, Regions Bank, and Heartland, the order at issue deals with

 questions of state law as applied to the insurance contract specific to GEICO, and therefore has

 limited precedential value. Moreover, similar cases presently are pending in federal and state

 courts throughout Florida (and other states), including in the Eleventh Circuit that involve similar

 coverage issues. See Roth v. GEICO Gen. Ins. Co., No. 19-11652-HH (11th Cir. appeal docketed

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 Apr. 25, 2019). The impending ruling from the Eleventh Circuit and the likelihood of future

 rulings from the Florida appellate courts on similar coverage issues weighs even stronger in favor

 of vacatur, particularly given the significant benefits of settlement to the class and the public.

                                           CONCLUSION

        For these reasons, the parties’ joint motion should be granted and the July 19, 2019,

 summary judgment order (Dkt. No. 185) should be vacated upon final approval of the proposed

 settlement.

 Dated: December 19, 2019

        Respectfully submitted,

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                                  CERTIFICATE OF SERVICE

        The undersigned hereby certifies that a true and correct copy of the foregoing Joint Motion

 to Vacate Summary Judgment Order was served via the Court’s CM/ECF system on December

 19, 2019, on all counsel or parties of record.


                                                      s/ Kymberly Kochis




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